Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page11ofof13
                                                                     14PageID
                                                                        PageID#:#:1282
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

     TRIDINETWORKS, LTD.                    )
                                            )
                       Plaintiff,           )
                                            )
              v.                            )    C.A. No. 19-1062-CFC-CJB
                                            )
     NXP-USA, INC. and NXP B.V.,            )
                                            )
                       Defendants.          )
                                            )
     TRIDINETWORKS, LTD.,                   )
                                            )
                       Plaintiff,           )
                                            )
              v.                            )    C.A. No. 19-1063-CFC-CJB
                                            )
     SIGNIFY NORTH AMERICA                  )
     CORPORATION and SIGNIFY                )
     NETHERLANDS B.V.,                      )
                                            )
                       Defendants.          )
                                            )
     TRIDINETWORKS LTD.,                    )
                                            )
                       Plaintiff,           )
                                            )
           v.                               )
     STMICROELECTRONICS, INC.,              )
     and STMICROELECTRONICS                 )    C.A. No. 19-1064-CFC-CJB
     INTERNATIONAL N.V., AND                )
     DOE-1 d/b/a                            )
     “STMICROELECTRONICS,”                  )
                                            )
                       Defendants.
                DEFENDANTS’ CONCISE STATEMENT OF FACTS IN
             SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT




    RLF1 24819698v.1
Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page22ofof13
                                                                     14PageID
                                                                        PageID#:#:1283
                                                                                   1770




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    Dated: February 19, 2021



    RLF1 24819698v.1
Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page33ofof13
                                                                     14PageID
                                                                        PageID#:#:1284
                                                                                   1771




            Defendants’ submit the following concise statement of undisputed facts:

                                Facts                                Evidence
                                                             (Exhibit Letter1 and Pin
                                                                        Cite)
       1   The earliest claimed priority date on the face   A, cover, item (60).
           of U.S. Patent No. 8,437,276 (“’276 Patent”)
           is November 29, 2007.

       2   The ’276 Patent is directed to a “method for   A 1:26-30.
           wireless and wired networks design,
           installation and automatic formation including
           binding of the networks devices by creating
           logical links between two or more devices.”

       3   Independent claim 1 is directed to “[a] method A 24:60 – 25:17.
           of design, installation, and formation of a
           network” comprising steps of “creating a
           design of said network,” “installing said
           devices according to said created design,” and
           “forming said network and bindings according
           to said created design.”

       4   A network design is created and stored           A 3:32-37, 13:11-20.
           electronically using a “design system
           controller with the design application 301
           (such as a PC)” and “standard storage means
           (such as a database or CD).”

       5   During the installation step of claim 1, the     A 25:1-5.
           network design is “accessed” and
           configuration data is “downloaded” into a
           network device being configured.




   1
    The Exhibit letters refer to the exhibits attached to the Declaration of Jeffrey L.
   Moyer in Support of Defendants’ Concise Statement of Facts in Support of Their
   Motion for Summary Judgment, filed contemporaneously herewith.
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   RLF1 24819698v.1
Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page44ofof13
                                                                     14PageID
                                                                        PageID#:#:1285
                                                                                   1772




                              Facts                              Evidence
                                                          (Exhibit Letter1 and Pin
                                                                    Cite)
    6     Network connections are formed according to    A 25:6-10.
          claim 1 “by initializing said devices and by
          reading said downloaded data.”

    7     The method of claim 1 employs a                A 25:1-12.
          “commissioning tool” and “configuration
          adapters” to assist in the transfer of
          configuration data to a wired or wireless
          network device being configured.

    8     A “commissioning tool” is defined as “a        A 9:44-46.
          (usually portable) unit used to deploy and
          configure devices.”

    9     An example of a commissioning tool is a        A 13:1-6;
          PDA, or personal digital assistant.
                                                         E ¶ 35.

    10 A “configuration adapter” is defined as “a        A 9:48-50.
       component . . . which receives and stores
       configuration data.”

    11 Figure 7 of the ’276 Patent illustrates a         A 7:55-56, Fig. 7.
       configuration adapter as a block diagram
       having three functional blocks: device contact
       interface 701, control and memory module
       700, and configuration interface 702.

    12 According to the ’276 Patent, “device contact     A 14:67 – 15:2 (emphasis
       interface 701 may be a standard                   added).
       communication interface . . . or a standard
       control interface.”

    13 “[C]onfiguration interface 702 implements         A 14:53-57 (emphasis
       identical configuration link communication        added).
       protocols (such as ISO 14443).”


                                              2
   RLF1 24819698v.1
Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page55ofof13
                                                                     14PageID
                                                                        PageID#:#:1286
                                                                                   1773




                            Facts                               Evidence
                                                        (Exhibit Letter1 and Pin
                                                                  Cite)
    14 ISO 14443 is an industry standard for NFC.      E ¶¶ 47, 117.

    15 Control and memory module 700 “may be           A 14:60-61.
       used to store the loaded configuration data
       and to control the adapter.”

    16 Storing data and performing control are the     E ¶ 48.
       conventional functions of a conventional
       computer component known as a
       microcontroller.

    17 Claim 1 concludes with two “wherein”            A 25:11-17.
       clauses.

    18 The first wherein clause recites that “said  A 25:11-12.
       commissioning tool comprises a configuration
       adapter for a complementary configuration
       link” with the configuration adapter of a
       network device being configured.

    19 According to the ’276 Patent, the             A 14:53-57.
       configuration adapters of the commissioning
       tool and the network devices being configured
       “implement identical configuration link
       communication protocols.”

    20 The second wherein clause recites: “of the     A 25:13-17.
       configuration adapters included in the system,
       only said configuration adapter of said
       commissioning tool must be powered-up
       during data communication between said at
       least one commissioning tool and said
       devices.”

    21 Independent claim 17 recites a system for       Compare A 24:60 – 25:17,
       performing the method of claim 1.               with A 27:14-40.


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   RLF1 24819698v.1
Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page66ofof13
                                                                     14PageID
                                                                        PageID#:#:1287
                                                                                   1774




                            Facts                             Evidence
                                                       (Exhibit Letter1 and Pin
                                                                 Cite)
    22 The functions performed by the elements of     Compare A 24:60 – 25:17,
       the system of claim 17 correspond to the steps with A 27:14-40.
       of claim 1.

    23 The system of claim 17 employs the same          A 27:23-33.
       “commissioning tool” and “configuration
       adapters” as claim 1.

    24 Claim 17 concludes with the same two             Compare A 25:11-17, with
       wherein clauses as claim 1.                      A 27:34-40.

    25 In addition, claim 17 recites “a design system   A 27:18-22.
       for creating and storing a design of a
       network.”

    26 The “design of a network” recited in claim 17    Compare A 27:18-22, with
       includes the same elements and limitations as    A 24:63-67.
       the “design of said network” recited in claim
       1.

    27 Claim 17 also recites “a control system         A 27:25-33.
       comprising at least one commissioning tool”
       for installing network devices according to the
       created network design.

    28 The ’276 Patent states that configuration data   A 6:12-15, 6:23-26, 22:4-8,
       may be downloaded into a device with “no         22:37-41, Figs. 12, 13.
       need to power-up the configuration adapter.”

    29 An unpowered mode of operation is explicitly A 28:26-30 (emphasis
       recited in dependent claim 23: “wherein said   added).
       configuration interface [of said configuration
       adapters] is operating with no need to
       power-up the corresponding configuration
       adapter.”



                                           4
   RLF1 24819698v.1
Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page77ofof13
                                                                     14PageID
                                                                        PageID#:#:1288
                                                                                   1775




                            Facts                              Evidence
                                                        (Exhibit Letter1 and Pin
                                                                  Cite)
    30 Independent claims 1 and 17 recite a power-     A 25:13-17, 27:36-40
       up requirement for one adapter—“only said       (emphasis added).
       configuration adapter of said commissioning
       tool must be powered-up during data
       communication”—but do not recite the
       operating power state of other adapters.

    31 The patent specification never describes how    A 4:25-28, 13:35-37, 13:66
       to operate a device without power or how to     – 14:1, 14:38-40, 14:58-60.
       receive and store data without power, except
       to say that “the download [of configuration
       data to devices being configured] may be
       carried out by contactless technologies (such
       as RFID/NFC) or by contact technologies
       (such as 1-Wire).”

    32 TDN did not invent NFC. NFC is a general-       E ¶¶ 15, 117-122.
       purpose communication protocol based on a
       much older technology known as radio
       frequency identification (“RFID”).

    33 The features and operation of NFC devices       E ¶¶ 117, 124-125, 128-
       are specified in the international industry     129.
       standard known as ISO 14443.

    34 The ’276 Patent explicitly references the       A 14:53-57 (emphasis
       existing NFC standard for use in                added).
       communicating configuration data, stating
       that “the configuration interface [of the
       configuration adapters] implements identical
       configuration link communication protocols
       (such as ISO 14443).”




                                           5
   RLF1 24819698v.1
Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page88ofof13
                                                                     14PageID
                                                                        PageID#:#:1289
                                                                                   1776




                            Facts                              Evidence
                                                        (Exhibit Letter1 and Pin
                                                                  Cite)
    35 The first edition of ISO 14443 was published    E ¶¶ 124-125, 127;
       in four parts between April 2000 and July
       2001, more than six years before the priority   B, cover (showing
       date of the ’276 Patent.                        publication on April 15,
                                                       2000);

                                                       C, cover (showing
                                                       publication on July 1,
                                                       2001);

                                                       A, cover (showing filing of
                                                       provisional patent
                                                       application on November
                                                       29, 2007).

    36 The first edition of ISO 14443 included         E ¶¶ 60-61, 133-139.
       support for wireless transfer of power to an
       unpowered device.

    37 Devices defined by ISO 14443 communicate        E ¶¶ 119, 138-139.
       by inductive coupling. Inductive coupling
       means that two devices interact through an
       electromagnetic field rather than wires.

    38 ISO 14443 defines an unpowered device that E ¶ 138;
       receives data by inductive coupling, namely, a
       “proximity card (PICC)” “into which             B 2 (defining “proximity
       integrated circuit(s) and coupling means have card (PICC)”).
       been placed and in which communication to
       such integrated circuit(s) is done by inductive
       coupling in proximity of a coupling device.”




                                           6
   RLF1 24819698v.1
Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page99ofof13
                                                                     14PageID
                                                                        PageID#:#:1290
                                                                                   1777




                            Facts                               Evidence
                                                        (Exhibit Letter1 and Pin
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    39 ISO 14443 also defines a powered device that    E ¶ 139;
       uses inductive coupling to transfer power and
       communicate data to the unpowered device,     B 2 (defining “proximity
       namely, a “proximity coupling device (PCD)” coupling device (PCD)”).
       which is a “reader/writer device that uses
       inductive coupling to provide power to the
       PICC and also to control the data exchange
       with the PICC.”

    40 ISO 14443 specifies that the powered PCD        E ¶ 139;
       device “shall produce an energizing RF
       [radio frequency] field which couples to the    C 3 (section 6, titled
       [unpowered PICC device] to transfer             “Power transfer”)
       power and which shall be modulated for          (emphasis added).
       communication.”

    41 The first edition of ISO 14443 included         E ¶¶ 140-144.
       support for writing data to the memory of an
       unpowered device.

    42 The powered device of ISO 14443, known as       B 2 (definition of
       a proximity coupling device, is a               “proximity coupling device
       “reader/writer device.”                         (PCD)”) (emphasis added);

                                                       E ¶ 143.




                                          7
   RLF1 24819698v.1
Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page10
                                                               10ofof13
                                                                      14PageID
                                                                         PageID#:#:1291
                                                                                    1778




                            Facts                                Evidence
                                                        (Exhibit Letter1 and Pin
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    43 The unpowered device of ISO 14443—the           B 1, 2 (definition of
       PICC—includes integrated circuits “designed     “integrated circuit(s) (IC)”
       to perform processing and/or memory             (emphasis added) and
       functions.”                                     definition of “proximity
                                                       card (PICC)” as a device
                                                       “into which integrated
                                                       circuit(s) . . . have been
                                                       placed”);

                                                       E ¶ 141.



    44 According to ISO 14443, “communication to B 2 (definition of
       such integrated circuit(s) is done by         “proximity card (PICC)”)
       inductive coupling in proximity of a coupling (emphasis added);
       device.”
                                                     E ¶ 143.

    45 TDN did not invent the concept of using NFC     D 5, 16.
       to configure network devices or transfer
       network configuration data.

    46 A 2004 presentation published by Philips        D 5 (emphasis added);
       Electronics states: “NFC can be used as a
       virtual connector for quickly establishing      see also D 27 (copyright
       other types of wireless communication           2004).
       between devices. By bringing two devices
       close together, it can automatically
       configure and initialize other wireless
       protocols such as WiFi and Bluetooth.”




                                           8
   RLF1 24819698v.1
Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page11
                                                               11ofof13
                                                                      14PageID
                                                                         PageID#:#:1292
                                                                                    1779




                            Facts                                Evidence
                                                          (Exhibit Letter1 and Pin
                                                                    Cite)
    47 The same 2004 presentation by Philips states:     D 16 (emphasis added).
       “NFC can also bootstrap other wireless
       protocols like Bluetooth or Wireless Ethernet
       (WiFi) by exchanging configuration and
       session data.”



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                                           9
   RLF1 24819698v.1
Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page12
                                                               12ofof13
                                                                      14PageID
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                                          10
   RLF1 24819698v.1
Case
 Case1:19-cv-01062-CFC-CJB
      1:19-cv-01063-CFC-CJB Document
                             Document72-1
                                      69 Filed
                                          Filed02/19/21
                                                03/12/21 Page
                                                          Page13
                                                               13ofof13
                                                                      14PageID
                                                                         PageID#:#:1294
                                                                                    1781




                         CERTIFICATE OF COMPLIANCE
                        WITH TYPE-VOLUME LIMITATION


            The foregoing Defendants’ Concise Statement of Facts in Support of Their

   Motion for Summary Judgment complies with the type-volume limitations of the

   Court’s November 6, 2019 Standing Order Regarding Briefing in All Cases and this

   Court’s Scheduling Order (D.I. 41, 60). The text of the Concise Statement of Facts,

   including footnotes, was prepared in Times New Roman 14-point and contains 1,525

   words.



    Dated: February 19, 2021                     /s/ Christine D. Haynes
                                                 Christine D. Haynes (#4697)




                                           11
   RLF1 24819698v.1
      Case
2/19/2021     1:19-cv-01062-CFC-CJB Document 72-1LIVEFiled
                                          CM/ECF      - U.S. 03/12/21         Page 14 of 14 PageID #: 1782
                                                             District Court:ded

Other Documents
 1:19-cv-01063-CFC-CJB TriDiNetworks Ltd. v. Signify North America Corporation et al.

 CASREF,MEDIATION-MPT,PATENT


                                                              U.S. District Court

                                                             District of Delaware

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Case Number:         1:19-cv-01063-CFC-CJB
Filer:               Signify Netherlands B.V.
Document Number: 69

Docket Text:
STATEMENT re [67] MOTION for Summary Judgment Concise Statement of Facts by Signify
Netherlands B.V.. (Dorsney, Kenneth)


1:19-cv-01063-CFC-CJB Notice has been electronically mailed to:

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